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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NEW YORK


DONGHO LEE, Individually and on Behalf               1:24-cv-598 (MAD/DJS)
                                           Case No. ____________________
of All Others Similarly Situated,

                             Plaintiff,
                                           CLASS ACTION COMPLAINT
      v.

PLUG POWER INC., ANDREW MARSH,             JURY TRIAL DEMANDED
and PAUL B. MIDDLETON,

                             Defendants.
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        Plaintiff Dongho Lee (“Plaintiff”), individually and on behalf of all others similarly

situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges

the following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by Defendants, United

States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Plug Power Inc. (“Plug” or the “Company”), analyst reports and

advisories about the Company, and information readily obtainable on the Internet. Plaintiff

believes that substantial, additional evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                               I.      NATURE OF THE ACTION

        1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired Plug securities between

March 1, 2023 and January 16, 2024, both dates inclusive (the “Class Period”), seeking to recover

damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

        2.      Plug provides hydrogen fuel cell turnkey solutions for the electric mobility and

stationary power markets in North America and Europe, focusing on proton exchange membrane

(“PEM”) fuel cell and fuel processing technologies, fuel cell-battery hybrid technologies, and

related hydrogen storage and dispensing infrastructure. Plug offers its products to retail-

distribution and manufacturing businesses through a direct product sales force, original equipment

manufacturers (“OEMs”), and dealer networks.


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       3.      Integral to Plug’s business are the green hydrogen production plants that the

Company operates in multiple locations throughout the U.S. and Europe. These plants are at

various stages of development, from operational to under construction. Plug’s strategy to maintain

growth and profitability involves expanding production capabilities at the Company’s already

completed green hydrogen plants while finishing construction of new plants. The Company has

struggled to execute these hydrogen plant build-out and construction efforts on budget and on time

and, as a result, is frequently tasked with identifying additional sources of capital to fund its

operations.

       4.      Despite the foregoing issues, Defendants assured investors throughout the Class

Period that Plug was on a clear path to long-term growth and profitability, that the build-out and

construction of its green hydrogen production plants remained “on track”, and that the Company

had identified multiple opportunities to continue to fund its operations. Relatedly, Defendants

assured investors that Plug had enacted a diversification strategy to mitigate the potential negative

impacts that, inter alia, supply chain constraints and material shortages could have or were having

on the Company’s business.

       5.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and prospects. Specifically, Defendants

made false and/or misleading statements and/or failed to disclose that: (i) Plug overstated its ability

and/or efforts to mitigate the negative impacts that, inter alia, supply chain constraints and material

shortages could have or were having on the Company’s hydrogen business, as well as the

sufficiency of its cash and capital to fund its operations; (ii) Plug continued to experience delays

related to its green hydrogen production facility build-out plans, as well as in securing external

funding sources to finance its growth plans; (iii) Plug downplayed the true scope and severity of




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all the foregoing when these issues were eventually revealed; (iv) as a result of all the foregoing,

Plug also overstated the near-term prospects of its hydrogen production operations, as well as the

viability of expanding those operations; and (v) as a result, the Company’s public statements were

materially false and misleading at all relevant times.

       6.      On November 9, 2023, Plug announced its third quarter 2023 results, including

third quarter GAAP1 earnings-per-share (“EPS”) of -$0.47, missing consensus estimates by $0.16,

and third quarter revenue of $198.71 million, missing consensus estimates by $23.02 million. In

discussing these results, Plug disclosed that its “2023 overall financial performance has been

negatively impacted by unprecedented supply challenges in the hydrogen network in North

America”, including, inter alia, “severe hydrogen shortages”, prompting multiple analyst

downgrades.

       7.      On this news, Plug’s stock price fell $2.40 per share, or 40.47%, to close at $3.53

per share on November 10, 2023.

       8.      On November 16, 2023, Citi downgraded Plug’s stock from a “Buy” to a “Neutral”

rating, as well as slashed its price target on the stock from $12.50 to $5.00, noting, among other

things, that Plug management’s “subpar execution has led the company into liquidity challenges”

and, accordingly, Plug will require $500 million of cash over the next six months.

       9.      On this news, Plug’s stock price fell $0.17 per share, or 3.91%, to close at $4.18

per share on November 16, 2023.




   1
      GAAP refers to generally accepted accounting principles, which are a set of accounting rules,
standards, and procedures that U.S. public companies must follow when their accountants compile
their financial statements.



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       10.     On December 6, 2023, Morgan Stanley downgraded Plug’s stock from an “Equal

Weight” to an “Underweight” rating, as well as slashed its price target on the stock from $3.50 to

$3.00, citing liquidity concerns and worsening hydrogen economics.

       11.     On this news, Plug’s stock price fell $0.25 per share, or 5.9%, to close at $3.99 per

share on December 6, 2023.

       12.     On January 11, 2024, Susquehanna downgraded Plug’s stock from a “Positive” to

a “Neutral” rating, as well as cut its price target on the stock from $5.50 to $4.00, citing “delays

related to both Plug’s green hydrogen production facility build-out and securing external funding

sources to finance its growth plans[.]”

       13.     On this news, Plug’s stock price fell $0.32 per share, or 7.92%, to close at $3.72

per share on January 11, 2024.

       14.     On January 16, 2024, Plug announced that it would provide its annual business

update on January 23, 2024.

       15.     Then, on January 17, 2024, Seeking Alpha reported that “the market appears to have

reset expectations ahead of [Plug]’s planned January 23 business update with CEO Andy Marsh

and CFO Paul Middleton.” For example, Seeking Alpha noted that “Morgan Stanley analyst

Andrew Percoco maintained his Underweight rating and $3 price target, anticipating downside to

Plug’s (PLUG) $2.1B revenue and 25% gross margin guidance for FY 2024 announced during its

Q4 earnings call”; that “[t]he analyst thinks further delays at Plug’s (PLUG) green hydrogen

production facility in Georgia could be announced, which would add to pressure on the growth

and profitability profile of the company’s green hydrogen business model”; and that “Percoco also

pointed to an increasing probability that Plug (PLUG) will need to raise $1B-$1.5B of equity and




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equity-like capital to fund its highly capital intensive business to provide itself runway to improve

its margin and cash flow profile, which is not fully baked into the current share price.”

       16.     On this news, Plug’s stock price fell $0.30 per share, or 9.87%, to close at $2.74

per share on January 17, 2024.

       17.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                             II.     JURISDICTION AND VENUE

       18.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       19.     This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331 and Section 27 of the Exchange Act.

       20.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Plug is headquartered in this Judicial District,

Defendants conduct business in this Judicial District, and a significant portion of Defendants’

actions took place within this Judicial District.

       21.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.




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                                         III.   PARTIES

          22.   Plaintiff, as set forth in the attached Certification, acquired Plug’s securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

          23.   Defendant Plug is a Delaware corporation with principal executive offices located

at 968 Albany Shaker Road, Latham, New York 12110. The Company’s common stock trades in

an efficient market on the Nasdaq Capital Market (“NASDAQ”) under the ticker symbol “PLUG”.

          24.   Defendant Andrew Marsh (“Marsh”) has served as Plug’s Chief Executive Officer

at all relevant times.

          25.   Defendant Paul B. Middleton (“Middleton”) has served as Plug’s Chief Financial

Officer at all relevant times.

          26.   Defendants Marsh and Middleton are collectively referred to herein as the

“Individual Defendants.”

          27.   The Individual Defendants possessed the power and authority to control the

contents of Plug’s SEC filings, press releases, and other market communications. The Individual

Defendants were provided with copies of Plug’s SEC filings and press releases alleged herein to

be misleading prior to or shortly after their issuance and had the ability and opportunity to prevent

their issuance or to cause them to be corrected. Because of their positions with Plug, and their

access to material information available to them but not to the public, the Individual Defendants

knew that the adverse facts specified herein had not been disclosed to and were being concealed

from the public, and that the positive representations being made were then materially false and

misleading. The Individual Defendants are liable for the false statements and omissions pleaded

herein.




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       28.     Plug and the Individual Defendants are collectively referred to herein as

Defendants.

                           IV.     SUBSTANTIVE ALLEGATIONS

A.     Background

       29.     Plug provides hydrogen fuel cell turnkey solutions for the electric mobility and

stationary power markets in North America and Europe, focusing on PEM fuel cell and fuel

processing technologies, fuel cell-battery hybrid technologies, and related hydrogen storage and

dispensing infrastructure. Plug offers its products to retail-distribution and manufacturing

businesses through a direct product sales force, OEMs, and dealer networks.

       30.     Integral to Plug’s business are the green hydrogen production plants that the

Company operates in multiple locations throughout the U.S. and Europe. These plants are at

various stages of development, from operational to under construction. Plug’s strategy to maintain

growth and profitability involves expanding production capabilities at the Company’s already

completed green hydrogen plants while finishing construction of new plants. The Company has

struggled to execute these hydrogen plant build-out and construction efforts on budget and on time

and, as a result, is frequently tasked with identifying additional sources of capital to fund its

operations.

       31.     Despite the foregoing issues, Defendants assured investors throughout the Class

Period that Plug was on a clear path to long-term growth and profitability, that the build-out and

construction of its green hydrogen production plants remained “on track”, and that the Company

had identified multiple opportunities to continue to fund its operations. Relatedly, Defendants

assured investors that Plug had enacted a diversification strategy to mitigate the potential negative

impacts that, inter alia, supply chain constraints and material shortages could have or were having

on the Company’s business.


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B.     Materially False and Misleading Statements Issued During the Class Period

       32.       The Class Period begins on Mar. 1, 2023, when Plug filed its annual financial

statements on Form 10-K assuring investors that “its working capital and cash position will be

sufficient to fund its operations for at least one year after the date the financial statements are

issued.”

       33.       Appended as exhibits to the Mar. 1, 2023 Form 10-K were signed certifications by

the Individual Defendants certifying that the 10-K “does not contain any untrue statement of a

material fact or omit to state a material fact necessary to make the statements made, in light of the

circumstances under which such statements were made, not misleading with respect to the period

covered by this report;” and “the financial statements, and other financial information included in

this report, fairly present in all material respects the financial condition, results of operations and

cash flows of the registrant as of, and for, the periods presented in this report[.]”

       34.       The same day, on Mar. 1, 2023, Plug issued a press release announcing the

Company’s fourth quarter and year ended December 31, 2022 financial results. Plug reaffirmed its

2023 revenue and gross margin guidance of $1.4 billion and 10%, respectively and reaffirmed

“revenue and margin targets for 2026/2030 of $5B/$20B revenue, and 30%/35% gross margin,

which represents ~50% Revenue CAGR to 2030[.]”

       35.       Plug also assured investors in the press release that “[t]o support this anticipated

growth, we continue to strengthen our global supply chain and world-class global manufacturing

capabilities[,]” and “[w]e have mitigated many of the broader supply chain issues that were

bottlenecks for electrolyzer and fuel cell systems in the second half of 2022 with our multi-

sourcing strategy and expansion of strategic partnerships.”

       36.       With respect to its green hydrogen plant build-out targets, Plug emphasized in its

press release:


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       Plug is building the world’s first end-to-end green hydrogen ecosystem and remains

        on track to have 500TPD of green hydrogen generation network in North America

        by 2025 and 1,000 TPD on a global basis by 2028. We remain on track to

        commission 200TPD by the end of 2023 as previously highlighted.

       Georgia: Commissioning of liquid plant started in 2022 as planned. Essentially all

        of the major equipment has been installed, including transformers, power

        distribution control, rectifiers, Plug’s electrolyzers, liquefier, and storage. We

        continue to commission multiple different components on the 15TPD liquid plant.

        As we have previously highlighted, commissioning to full production usually takes

        three to six months. We are on schedule to produce liquid hydrogen by the end of

        March / early Q2 of 2023 at this site. We are producing green hydrogen from our

        gas plant in Georgia and have started high-pressure tube trailer fills for multiple

        customers.

       Olin Joint Venture – Louisiana. Plug and Olin announced the launch of a 50/50

        joint venture (JV), named Hidrogenii, to begin construction of a 15TPD hydrogen

        plant in Louisiana. We expect to have major equipment, including compressors and

        liquefiers on site in Q2 2023 to start commissioning. We are targeting production

        from this plant by the end of Q3 2023. We are also in discussions with Olin to

        expand beyond Louisiana into additional locations.

       Tennessee: We are continuing to evaluate additional land options and working to

        secure power needs to get 5TPD of additional gaseous hydrogen generation. We

        have been producing 10TPD of liquid hydrogen at this site since 2021.




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                New York: We continue to make progress on our green hydrogen plant in Alabama,

                 New York with capacity of 60 to 75TPD. We expect to have the majority of

                 equipment installed on site by year-end and start commissioning work. Permits

                 related to the substation have been in place, and we are collaborating with NYPA

                 and National Grid to energize the substation in the second half of 2023. The plant

                 will use Plug’s electrolyzers as well as liquefiers. We are targeting full production

                 three to six months after commissioning in the first half of 2024.

                Texas: The 45TPD plant in Texas broke ground in Q4 2022. All permits are in

                 place, and the plant will utilize Plug electrolyzers and liquefiers. The 345MW wind

                 farm that will power this plant is already operational and we are on track to start

                 commissioning this plant in Q4 of this year, with liquid hydrogen production

                 expected in the first half of 2024.

                Other Projects: As we have previously highlighted, Plug is evaluating multiple

                 sites for hydrogen production, leveraging existing feed gas. These sites, similar to

                 the Olin JV plant, have shorter construction timelines. We have also secured some

                 major long lead time items that can support 45TPD of hydrogen generation. We

                 expect to have further updates in the first half of the year.

       37.       The statements referenced in ¶¶ 32-36 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and prospects. Specifically, Defendants made

false and/or misleading statements and/or failed to disclose that: (i) Plug overstated its ability

and/or efforts to mitigate the negative impacts that, inter alia, supply chain constraints and material

shortages could have or were having on the Company’s hydrogen business, as well as the




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sufficiency of its cash and capital to fund its operations; (ii) Plug continued to experience delays

related to its green hydrogen production facility build-out plans, as well as in securing external

funding sources to finance its growth plans; (iii) Plug downplayed the true scope and severity of

all the foregoing when these issues were eventually revealed; (iv) as a result of all the foregoing,

Plug also overstated the near-term prospects of its hydrogen production operations, as well as the

viability of expanding those operations; and (v) as a result, the Company’s public statements were

materially false and misleading at all relevant times

         38.    Then, on May 9, 2023, Plug issued a shareholder letter during pre-market hours,

announcing the Company’s first quarter 2023 results (the “1Q23 Shareholder Letter”). The 1Q23

Shareholder Letter highlighted that Defendants were “Reaffirming 2023 Targets, [and were]

focused on key initiatives to enable revenue growth and path to profitability”. Particularly, with

respect to Plug’s green hydrogen plant build-out targets, the 1Q23 Shareholder Letter stated, inter

alia:

        Plug’s Georgia Liquid Green Hydrogen Plant Will Complete Commissioning and
         Continue to Ramp to Liquid Production throughout Q2: The plant has been brought
         online in less than a year since issuing the full EPC contract (engineering, procurement
         and construction contract), marking a new industry standard for the construction
         timeline of a liquid hydrogen plant. Gaseous hydrogen production has continued at the
         Georgia plant, with fills of our fleet of high-pressure tube trailers and customer trailers.

        Green Hydrogen Buildout on Track: Leveraging learnings from Georgia, we have been
         able to negotiate a lump sum turnkey construction contract for our Texas plant, and we
         have selected an EPC management company for New York. We are also working on
         optimizing our project execution strategy in Louisiana with our JV [joint venture] partner.
         Lastly, the decision on the location of our next plant is in the final stages. We believe
         these activities put us on track to reach 200 tons-per-day (TPD) under construction and/or
         commissioning by the end of 2023.

                                                  ***

        Progress on 2023 Objectives Mark an Inflection Point for Plug: Green hydrogen
         production, manufacturing scale, electrolyzer sales, fuel cell product growth and progress



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       on other 2023 objectives have positioned Plug to achieve significant revenue and
       continued margin expansion throughout the year.

(Emphases in original.)

       39.     With further respect to Plug’s green hydrogen plant build-out activities, the 1Q23

Shareholder Letter stated, in relevant part, that “Plug’s speed of execution in our first-of-its-kind

green hydrogen plants and commercialized fuel cell products remains unmatched”; and that

“Plug’s green hydrogen generation network buildout should accelerate the energy transition while

driving meaningful margin enhancement for Plug.”

       40.     With specific respect to Plug’s progress in building out its U.S. hydrogen plant

facilities, the 1Q23 Shareholder Letter stated, inter alia, that “Plug has made significant strides in

ramping up liquid hydrogen production [in Georgia], with plans to begin production in the second

quarter of 2023”; that in Louisiana, Plug’s hydrogen plant “site broke ground in Q1 2023 and

continues to make solid progress” and “[k]ey construction and commissioning activities are

planned to take place during the remainder of 2023”; that “[w]e continue to make progress on our

green hydrogen plant in New York to reach 75TPD of capacity to start commissioning in Q4

2023”; that “[t]he 45TPD plant in Texas broke ground in Q4 2022”, with “[a]ll permits . . . in

place, and long lead time items . . . scheduled to be completed well before commissioning”; and

that “Plug is in the process of evaluating multiple sites for either new or expanded production for

up to 45TPD of liquid hydrogen production.”

       41.     With specific respect to Plug’s progress in building out its European hydrogen plant

facilities, the 1Q23 Shareholder Letter stated, in relevant part, that “Plug is actively developing

three projects in Spain and Portugal as part of its JV with ACCIONA, including the site of its first

green hydrogen production plant in Spain, scheduled to commission in 2H 2024”; “Plug is making

progress on its 35TPD green hydrogen plant at the Port of Antwerp, with inbound interest



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exceeding 10 times the plant’s capacity”; and that “Plug is evaluating potential project sites in

multiple locations with low-cost renewable electricity to produce low-cost green hydrogen and

transport it to demand centers across the EU to support decarbonization efforts.”

       42.      With respect to Plug’s opportunities to secure external funding sources to finance

its growth plans, the 1Q23 Shareholder Letter stated, inter alia:

            Multiple Non-dilutive Financing Opportunities Available to Support Anticipated
             Powerful Growth and the Buildout of our Green Hydrogen Network: Plug is
             evaluating several financing options with counterparties, including but not limited to,
             the Department of Energy (DOE) Loan Program, strategic project investment
             partners, and asset-backed loan (ABL) facilities from major banks. Between the
             current cash position, a $5.7B balance sheet, and interest from multiple capital
             partners, we believe Plug is well positioned to fund forecasted growth.

                                                ***

       Plug is evaluating multiple sources of low-cost and non-dilutive capital, as it continues to
       build out a global green hydrogen generation network. Currently, Plug is completing the
       second stage of due diligence with the DOE Loan Program Office. Concurrently, we are
       evaluating asset-backed loan (ABL) facilities from major banks. Finally, Plug continues
       to receive interest from strategic partners and infrastructure funds regarding interest to
       partner in our hydrogen plants, which could help accelerate our next generation of
       hydrogen plant development. Financing decisions around these opportunities will likely
       be made in the second half of this year. Plug has a strong unleveraged balance sheet and
       a profitable green hydrogen project pipeline which collectively create a strong liquidity
       position, giving us a significant runway to continue our plant buildout and scale our
       business. Longer-term capital needs are likely to be covered with operating cash flow and
       traditional project financing as the company and the green hydrogen industry continue to
       grow.

(Emphasis in original.)

       43.      Also on May 9, 2023, Plug filed a quarterly report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended March 31, 2023 (the

1Q23 10-Q ). The 1Q23 10-Q downplayed the negative impacts that, inter alia, supply chain

constraints and material shortages could have or were having on Plug’s business, while




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simultaneously touting the Company’s diversification efforts and overall mitigation strategy to

address such issues, stating, in relevant part:

       Most components essential to our business are generally available from multiple sources;
       however, we believe there are some component suppliers and manufacturing vendors,
       particularly those that supply materials in very limited supply worldwide, whose loss to
       us could have a material adverse effect upon our business and financial condition. We are
       mitigating these potential risks by introducing alternate system architectures that we
       expect will allow us to diversify our supply chain with multiple fuel cell, electrolyzer
       stack and air supply component vendors. In addition, we continue to invest in our supply
       chain to improve its resilience with a focus on automation, dual sourcing of critical
       components and localized manufacturing when feasible. We are also working closely
       with these vendors and other key suppliers on coordinated product introduction plans,
       product and sales forecasting, strategic inventories, and internal and external
       manufacturing schedules and levels; however, changes to our products designs or
       incorrect forecasting could present challenges to those strategies despite best efforts in
       leveraging supplier relationship and capabilities. Recent cost pressures from global energy
       prices and inflation have negatively impacted access to our key raw materials. In cases
       where we have single sourced suppliers (typically due to new technology and products)
       or there have been worldwide shortages due to global demand, we have worked to
       engineer alternatives in our product design or develop new supply sources while
       covering short- and medium-term risks with supply contracts, building up inventory,
       and development partnerships.

(Emphases added.)

       44.       With respect to Plug’s liquidity and capital resources, the 1Q23 10-Q stated, in

relevant part:

       As of March 31, 2023 and December 31, 2022, the Company had $474.9 million and
       $690.6 million, respectively of cash and cash equivalents and $898.4 million and $858.7
       million of restricted cash, respectively. Additionally, the Company had $1.0 billion and
       $1.3 billion of available-for-sale securities as of March 31, 2023 and December 21, 2022,
       respectively.

                                                  ***
       The Company’s working capital was $2.3 billion as of March 31, 2023, which included
       unrestricted cash and cash equivalents of $474.9 million. The Company plans to invest a
       portion of its available cash to expand its current production and manufacturing capacity,
       construction of hydrogen plants and to fund strategic acquisitions and partnerships and
       capital projects . . . . [T]he Company believes that its working capital and cash position
       will be sufficient to fund its operations for at least one year after the date the financial
       statements are issued.




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       45.      Appended as exhibits to the May 9, 2023 Form 10-Q for the 1Q23 were signed

certifications by Defendants Marsh and Middleton certifying that the 10-Q “does not contain any

untrue statement of a material fact or omit to state a material fact necessary to make the statements

made, in light of the circumstances under which such statements were made, not misleading with

respect to the period covered by this report;” and that “the financial statements, and other financial

information included in this report, fairly present in all material respects the financial condition,

results of operations and cash flows of [Plug] as of, and for, the periods presented in this report[.]”

       46.      On August 9, 2023, Plug issued a shareholder letter announcing the Company’s

second quarter 2023 results (the 2Q23 Shareholder Letter ). The 2Q23 Shareholder Letter

highlighted that Plug’s [m]anufacturing scale, green hydrogen build out, and vertically integrated

business model sets up an inflection point in both revenue and path to profitability.”

       47.      With respect to Plug’s progress in both building out its green hydrogen production

facilities and funding these activities, the 2Q23 Shareholder Letter stated, inter alia:

            Plug’s Georgia green hydrogen plant reaching major milestone: We are
             continuing to optimize and ramp-up the plant. Final commissioning activities are
             underway to reach 17.5 tons per day (TPD) of production on site during Q3 2023. As
             Georgia produces at its full capacity, this is expected to cut our fuel margin loss by as
             much as half from Q2 to Q4 2023.

                                                 ***

       Plug is making significant strides towards achieving our target of 500 TPD by the close
       of 2025. Currently, we have four green hydrogen plants at various stages of construction,
       and a fifth plant is in the final evaluation phase. Leveraging insights gained from our
       experience in Georgia, we have refined our construction plans and plant design to optimize
       both capital expenditure and post-commissioning operations. Despite minor adjustments
       in production timelines of approximately 6 months across the Plug network development,
       our learnings from this process strengthens our long-term positioning as the global leader
       in green hydrogen production. We believe Plug’s green hydrogen generation network
       stands to drive substantial margin expansion for Plug, as well as expedite the energy
       transition.




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       In the face of extraordinary global regulatory tailwinds, Plug’s green hydrogen projects
       servicing industrial users through a build, own, and operate framework have garnered
       notable traction. The project framework is carefully designed to tap into non-recourse debt
       and project financing, are strategically situated in close proximity to areas with sustained
       long-term demand and structured for firm offtake agreements from investment grade
       buyers. This should allow Plug to transition from funding projects from our balance sheet
       to assuming only 20% of the capex, thereby creating a 5 times multiplier on the capital
       we can allocate to expand our green hydrogen network.

(Emphasis in original.)

       48.     With specific respect to Plug’s progress in building out its U.S. hydrogen plant

facilities, the 2Q23 Shareholder Letter stated, inter alia, that “[w]e continue to optimize and ramp-

up the [Georgia] plant” with “[f]inal commissioning activities . . . underway to reach 17.5 tons per

day (TPD) of production on site in Q3 2023”; that in Louisiana, Plug’s hydrogen plant “site broke

ground in Q1 2023 and continues to make solid progress” with the Company “looking to produce

in Q1 2024”; that in Texas, “we have executed a lump sum turnkey EPC contract . . . for our 45

TPD green hydrogen plant”, which “sets the stage for one of the major key considerations from a

financing standpoint of having secured a lump-sum EPC contract”; that “[p]rogress in New York

continues as we work towards commissioning 74TPD of capacity in the first half of 2024” with

“completed work related to on-site storage, all the major long lead time items hav[ing] been

procured, and [that by] working with EPC management company and owner’s engineer, we have

been able to meaningfully optimize CAPEX per ton”; and that “Plug is actively evaluating several

sites for potential new or expanded production capabilities, with a focus on achieving up to 45

TPD of liquid hydrogen output.”

       49.     With specific respect to Plug’s progress in building out its European hydrogen plant

facilities, the 2Q23 Shareholder Letter stated, in relevant part, that, in Finland, “Plug plans for

three green hydrogen plants to leverage the region’s abundant renewable energy sources”,

“aim[ing] for a total capacity of 850 TPD, with FID [final investment decision] by 2026”; that



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“[p]rogress continues on the design of the 35 TPD green hydrogen plant at the Port of Antwerp,

with overwhelming interest surpassing the plant’s capacity by over tenfold”; that “Plug’s

collaboration with ACCIONA in Spain and Portugal is actively advancing, encompassing three

projects”, with “[t]he first 15 TPD green hydrogen plant in Spain . . . on track for commissioning

in the latter half of 2024”; and that “Plug is evaluating potential project sites, specifically targeting

locales with cost-effective renewable electricity to facilitate the production of economic green

hydrogen, which can then be transported to demand hubs across the broader EU landscape,

bolstering . . . Plug’s business objectives.”

        50.      With respect to Plug’s opportunities to secure external funding sources to finance

its growth plans, the 2Q23 Shareholder Letter stated, in relevant part:

             Exploring multiple financing options to support anticipated growth: Plug is
              evaluating several financing options with counterparties, including but not limited to,
              the DOE Loan Program, strategic project investment partners, and corporate debt
              facilities.

                                                 ***

        Plug is evaluating multiple sources of capital, as it continues to build out a global green
        hydrogen generation network. Currently, Plug is completing the second stage of due
        diligence with the DOE Loan Program Office. Concurrently, we are evaluating a range of
        corporate debt facilities from major banks and alternative infrastructure project funding,
        and ITC project financing solutions. Plug continues to receive interest from corporates
        and infrastructure funds to partner in our next generation of hydrogen plant development.
        Financing decisions around these opportunities will likely be made in the second half of
        this year. Plug has a strong balance sheet and a profitable green hydrogen project pipeline
        which collectively creates a strong liquidity position, giving the Company a significant
        runway to continue our plant buildout and scale our business. Longer-term capital needs
        are likely to be covered with operating cash flow and traditional project financing as the
        Company and the green hydrogen industry grow exponentially into the second half of the
        decade.

(Emphasis in original.)

        51.      Also on August 9, 2023, Plug filed a quarterly report on Form 10-Q with the SEC,

reporting the Company’s financial and operating results for the quarter ended June 30, 2023 (the



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“2Q23 10-Q”). The 2Q23 10-Q contained substantively the same statements as referenced in ¶ 37,

supra, downplaying the negative impacts that, inter alia, supply chain constraints and material

shortages could have or were having on Plug’s business, while simultaneously touting the

Company’s diversification efforts and overall mitigation strategy to address such issues.

       52.       With respect to Plug’s liquidity and capital resources, the 2Q23 10-Q stated, in

relevant part:

       As of June 30, 2023 and December 31, 2022, the Company had $579.4 million and $690.6
       million, respectively, of cash and cash equivalents and $973.9 million and $858.7 million
       of restricted cash, respectively. Additionally, the Company had $437.7 million and $1.3
       billion of available-for-sale securities as of June 30, 2023 and December 31, 2022,
       respectively.

                                                ***
       The Company’s working capital was $1.8 billion as of June 30, 2023, which included
       unrestricted cash and cash equivalents of $579.4 million.

                                                ***
       The Company plans to invest a portion of its available cash to expand its current
       production and manufacturing capacity, construct hydrogen plants and fund strategic
       acquisitions and partnerships and capital projects . . . . Given the Company’s focus on
       continuing to invest in growth and our green hydrogen platform, the Company is actively
       soliciting debt capital solutions from varied parties with particular focus on corporate level
       debt solutions, large scale hydrogen generation infrastructure project financing, and/or
       investment tax credit ( ITC ) related project financings. The Company targets closing on
       the most prudent solution in the near term. The Company’s ability to continue investing
       in growth and its green hydrogen platform will depend on its ability to obtain additional
       financing. The Company believes that its working capital and cash position will be
       sufficient to fund its operations for at least one year after the date the financial statements
       are issued.

       53.       Appended as exhibits to the 2Q23 10-Q were substantively the same certifications

as referenced in ¶¶ 33 and 45, supra, signed by the Individual Defendants.

       54.       The statements referenced in ¶¶ 38-53 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and prospects. Specifically, Defendants made




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false and/or misleading statements and/or failed to disclose that: (i) Plug overstated its ability

and/or efforts to mitigate the negative impacts that, inter alia, supply chain constraints and material

shortages could have or were having on the Company’s hydrogen business, as well as the

sufficiency of its cash and capital to fund its operations; (ii) Plug continued to experience delays

related to its green hydrogen production facility build-out plans, as well as in securing external

funding sources to finance its growth plans; (iii) Plug downplayed the true scope and severity of

all the foregoing when these issues were eventually revealed; (iv) as a result of all the foregoing,

Plug also overstated the near-term prospects of its hydrogen production operations, as well as the

viability of expanding those operations; and (v) as a result, the Company’s public statements were

materially false and misleading at all relevant times.

C.     The Truth Begins to Emerge

       55.      On November 9, 2023, during post-market hours, Plug issued a shareholder letter

announcing the Company’s third quarter 2023 results (the 3Q23 Shareholder Letter ). Therein, the

Company reported third quarter GAAP EPS of -$0.47, missing consensus estimates by $0.16, and

third quarter revenue of $198.71 million, missing consensus estimates by $23.02 million. In

discussing these results, the 3Q23 Shareholder Letter disclosed that Plug’s 2023 overall financial

performance has been negatively impacted by unprecedented supply challenges in the hydrogen

network in North America. The 3Q23 10-Q described these challenges, stating, inter alia:

            The liquid hydrogen market in North America has been severely constrained by
             multiple frequent force majeure events, leading to volume constraints which has
             delayed Plug’s deployments and service margin improvements: Plug continues to
             manage through a historically difficult hydrogen supply environment by leveraging
             our logistics assets and team members to transport hydrogen across the US to support
             customer operations as well as implementing contingency plans in various regions of
             the country.

                                                ***




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            Service accrual charge reflects higher near-term cost projections, which have
             been impacted by delay in roll out of certain reliability investments: In the third
             quarter of 2023, the Company has incurred a non-cash charge of $41.6 million. This
             charge reflects the projection for future costs to service our existing fleet through the
             remainder of their service contract. The severe hydrogen shortages have negatively
             affected direct cost of service as well as the timing for implementation of fleet
             upgrades into customer operated equipment. These factors have been compounded
             by certain cost increases from inflation impacts on labor, materials and overhead.
             The Company is continuing to monitor the current cost trends and hydrogen market
             dynamics. If these trends continue, the Company may have to record additional
             service loss provisions in future periods.

                                                 ***
       Given our forecasted capital expenditure and operating requirements under the current
       business plan, and the Company’s existing cash and liquidity position, the Company will
       need to access additional capital in the market to fund its activities. The Company is
       pursuing a number of debt capital and project financing solutions.

(Emphases in bold and italics added.)

       56.      In response to these disclosures, multiple analysts downgraded Plug’s stock. For

example, on November 10, 2023, in an article entitled “Plug Power sinks to lowest since April

2020 after dismal Q3 results, four analyst cuts”, Seeking Alpha reported, in relevant part:

       Plug . . . [stock fell] -43.9% to a three-and-a-half year low in Friday’s trading after
       reporting weak Q3 results and flagging going concern warnings, prompting at least four
       analyst downgrades on the stock.

                                                 ***
       Cutting Plug (PLUG) to Neutral from Overweight with a $6 price target, J.P. Morgan’s
       Bill Peterson noted the company’s short-term cash has been whittled down due to
       operational and scaling-up challenges and an unfavorable hydrogen supply market.

       “While we believe Plug Power can cycle past its current cash flow issues, the current
       operating and capital markets environments are challenging and we believe Plug shares
       are likely to be range bound over the next several quarters until clarity around its balance
       sheet are sorted out”, Peterson wrote.

       RBC Capital analyst Chris Dendrinos cut Plug (PLUG) to Sector Perform from
       Outperform with a $5 PT, noting company management is reviewing multiple options to
       bolster near-term liquidity, but it is “prudent to move to the sidelines and await execution
       of these events and until we see more material progress on initiatives to reduce cash burn
       and improve margins.”



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       Oppenheimer’s Colin Rusch conveyed a similar theme in downgrading his rating to
       Perform from Outperform with a $6 PT, saying while “we believe Plug has numerous
       options for augmenting its balance sheet and will reduce working capital... shares will
       likely be challenged until working capital normalizes, [gross margin] turns positive, and
       trajectory on growth is derisked.”

       Finally, Northland Capital cut Plug (PLUG) to Market Perform from Outperform with a
       $7 PT, given the challenging hydrogen market dynamics.

       57.      Following Plug’s issuance of the 3Q23 Shareholder Letter and the multiple analyst

downgrades, Plug’s stock price fell $2.40 per share, or 40.47%, to close at $3.53 per share on

November 10, 2023. Despite this decline in the Company’s stock price, Plug securities continued

trading at artificially inflated prices throughout the remainder of the Class Period because of

Defendants’ continued misstatements and omissions regarding the true scope and severity of the

negative impacts that, inter alia, supply chain constraints, material shortages, delays related to

Plug’s build-out of its green hydrogen production facilities, and delays in securing external funding

sources could have or were having on the Company’s hydrogen business and future prospects.

       58.      For example, the 3Q23 Shareholder Letter asserted, inter alia, that “[w]e believe

this hydrogen supply challenge is a transitory issue, especially as we expect our Georgia and

Tennessee facilities to produce at full capacity by year-end”; that “[l]essons from ramping up our

Georgia green hydrogen facility coupled with our manufacturing ramp, diversity of products, and

major new customer wins reinforce Plug’s leadership position in the global green hydrogen

economy”; and that “[a]s Plug manages through short-term hydrogen supply disruption, we are

focused on operational scale, in-house hydrogen generation and policy tailwinds to further the

Company’s position as a global leader in the green hydrogen industry.”

       59.      With further respect to Plug’s green hydrogen facility in Georgia, the 3Q23

Shareholder Letter stated, in relevant part:

            Georgia green hydrogen plant nearing major milestone: We are completing the
             final step of the commissioning process for the liquefiers/cold box. Liquid production


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             is anticipated between November 15th and year-end. Also, developments at
             Louisiana, Texas and New York are expected to provide an additional step change in
             our fuel margin expansion. Our gas plant in Georgia has now been operating for
             almost a year supporting high pressure tube trailer filling for Plug as well as other
             customers. Unprecedented hydrogen supply challenges in the US only further
             reinforces our vertically integrated strategy and need for a resilient generation
             network to support multiple applications.

(Emphasis in original.)

       60.      With specific respect to Plug’s progress in building out its U.S. hydrogen plant

facilities, the 3Q23 Shareholder Letter stated, inter alia, that “[w]e are completing the final step of

the commissioning process for the liquefiers/cold box” at the Company’s green hydrogen facility

in Georgia, with “[l]iquid production . . . anticipated between November 15th and year-end”; that

in Louisiana, Plug’s hydrogen plant “[c]onstruction continues with site grading, with the turnkey

provider mobilizing for installation of the liquefaction package in November” and “[t]he

commissioning plan . . . developed to ensure a smooth process from construction through

commissioning and start-up”; that in Texas, Plug’s hydrogen plant “[c]onstruction began at the

site with our hydrogen facility EPC contractor”, and “[w]ork is ongoing for on-site grading, access

roads, the power transmission line, and on-site substation”; that “[w]e continue to work in

collaboration with New York Power Authority and National Grid to complete and energize the

substation” at the Company’s New York hydrogen plant, “which remains the gating item to

achieve the full 74 TPD capacity in the first half of 2025”; and that “Plug is actively evaluating

several sites for potential new or expanded production capabilities, with a focus on achieving up

to 45 TPD of liquid hydrogen output.”

       61.      With specific respect to Plug’s progress in building out its European hydrogen plant

facilities, the 3Q23 Shareholder Letter stated, in relevant part, that “[w]e expect all permits to be

obtained in 2024 [for the Company’s hydrogen facility in the Port of Antwerp], which would allow




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it to move to the construction phase in the course of the following year”, “with the plant’s targeted

production already oversubscribed by over tenfold”; that Plug’s Acciona joint venture “is actively

advancing the development of our first three projects, which target curtailed renewable energy

sources” and that “will be the first 15 MW green hydrogen plant in Spain, which we expect to be

on track for commissioning in the latter half of 2024”; that in Finland, “[f]easibility studies are

being finalized, with the aim to start the next engineering phase in the first quarter of 2024”,

“aim[ing] for a total capacity of 850 TPD, with FID expected by 2026”; and that “Plug is

developing small-scale sites throughout Europe, driven by Plug customers demand for hydrogen,

notably in the United Kingdom and Germany.”

        62.      With respect to Plug’s ability to finance these expansion efforts, the 3Q23

Shareholder Letter provided Future Funding Roadmaps , stating, in relevant part:

             Corporate Debt Solutions: We are evaluating varied debt financing solutions to
              support our growth.

             US Department of Energy (DOE) Loan Program: Currently, Plug is working
              towards a conditional commitment from the DOE Loan Program Office to finance
              plants in our green hydrogen network.

             Project Finance and Plant Equity Partners: Our MOU with Fortescue
              contemplates Fortescue having a 40% equity stake in Plug’s Texas hydrogen plant
              and for Plug to take up to a 25% equity stake in Fortescue’s Phoenix hydrogen plant.
              We will continue to evaluate partners to lower our capital expenditure needs.

(Emphases in original.)

        63.      Also on November 9, 2023, Plug filed a quarterly report on Form 10-Q with the

SEC, reporting the Company’s financial and operational results for the quarter ended September

30, 2023 (the 3Q23 10-Q ). With respect to Plug’s liquidity and capital resources, the 3Q23 10-

Q stated, in relevant part:

        The Company’s working capital was $1.3 billion at September 30, 2023, which included
        unrestricted cash and cash equivalents of $110.8 million and restricted cash of $225.8



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       million. In addition, the Company had available-for-sale securities and equity securities
       of $388.8 million and $67.8 million, respectively, as of September 30, 2023.

                                               ***
       In light of the Company’s projected capital expenditure and operating requirements under
       its current business plan, the Company is projecting that its existing cash and available for
       sale and equity securities will not be sufficient to fund its operations through the next
       twelve months from the date of issuance of this Quarterly Report on Form 10-Q. These
       conditions and events raise substantial doubt about the Company’s ability to continue as
       a going concern . . . . To alleviate the conditions and events that raise substantial doubt
       about the Company’s ability to continue as a going concern, management is currently
       evaluating several different options to enhance the Company’s liquidity position,
       including the sale of securities, incurrence of debt or other financing alternatives. The
       Company’s plan includes various financing solutions from third parties with a particular
       focus on corporate level debt solutions, investment tax credit related project financings
       and loan guarantee programs, and/or large scale hydrogen generation infrastructure
       project financing. Those plans are not final and are subject to market and other conditions
       not within the Company’s control.

       64.     Appended as exhibits to the 3Q23 10-Q were substantively the same certifications

as referenced in ¶ 39, supra, signed by the Individual Defendants.

       65.     The statements referenced in ¶¶ 58-64 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and compliance policies. Specifically, Defendants

made false and/or misleading statements and/or failed to disclose that: (i) Plug downplayed the

true scope and severity of the negative impacts that, inter alia, supply chain constraints, material

shortages, delays related to the build-out of the Company’s green hydrogen production facilities,

and delays in securing external funding sources could have or were having on its hydrogen

business; (ii) accordingly, Plug overstated the near-term prospects of its hydrogen production

operations, as well as the viability of expanding those operations; and (iii) as a result, the

Company’s public statements were materially false and misleading at all relevant times.




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D.     The Truth Fully Emerges

       66.    On November 16, 2023, in an article entitled “Plug Power slides as Citi cuts, seeing

narrow way out of near-term problems”, Seeking Alpha reported, in relevant part:

       Plug . . . [stock fell] -7.1% in Thursday’s trading as Citi downgraded the stock to Neutral
       from Buy with a $5 price target, slashed from $12.50, saying management’s “subpar
       execution has led the company into liquidity challenges.”

       “Although there is a narrow way out of the near-term issues, margin of error is small,”
       Citi’s Vikram Bagri wrote, adding the 45V PTC clarification, which was a potential
       catalyst, is “now a much-needed lifeline, which could also pose insurmountable
       challenges if unfavorable.”

       The analyst estimated Plug (PLUG) will require $500M of cash over the next six months
       against line of sight to $930M in liquidity, and believes the company will need more cash
       by Q3 2024 at the latest.

       Plug . . . is poised as a leader of the nascent hydrogen economy with its vertical integration
       strategy and global partnerships, but Bagri believes margin expansion will take longer
       than expected to play out.

       67.    On this news, Plug’s stock price fell $0.17 per share, or 3.91%, to close at $4.18

per share on November 16, 2023.

       68.    On December 6, 2023, in an article entitled “Plug Power cut to Sell equivalent at

Morgan Stanley as hydrogen too reliant on subsidies”, Seeking Alpha reported, in relevant part:

       Plug . . . [stock fell] -5.6% in Wednesday’s trading as Morgan Stanley slashed its rating to
       Underweight from Equal Weight with a $3 price target, cut from $3.50, citing liquidity
       concerns and worsening hydrogen economics.

       Higher interest rates, rising renewable electricity prices and meaningful capex inflation
       have left green hydrogen economics increasingly reliant on subsidies, where visibility
       remains poor, which could delay project pipelines and slow adoption, Morgan Stanley’s
       Arthur Sitbon and Andrew Percoco wrote.

       Plug (PLUG) has faced significant challenges in commissioning its first few green
       hydrogen plants, the analysts noted: Its first facility in Georgia is 11 months behind
       schedule and saw a near-doubling of capex, and its Texas and New York plants also have
       faced significant delays, in part due to Inflation Reduction Act uncertainty but also as a
       result of permitting and construction difficulties.




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       69.     On this news, Plug’s stock price fell $0.25 per share, or 5.9%, to close at $3.99 per

share on December 6, 2023.

       70.     On January 11, 2024, during pre-market hours, Susquehanna downgraded Plug

from a “Positive” to a “Neutral” rating, as well as cut its price target on the stock from $5.50 to

$4.00. As Bloomberg reported, “[t]he downgrade for PLUG is due to ‘delays related to both Plug’s

green hydrogen production facility build-out and securing external funding sources to finance its

growth plans[.]’”

       71.     On this news, Plug’s stock price fell $0.32 per share, or 7.92%, to close at $3.72

per share on January 11, 2024.

       72.     On January 16, 2024, Plug announced that it would provide its annual business

update on January 23, 2024.

       73.     Then, on January 17, 2024, in an article entitled “Plug Power plunges again as

market resets expectations ahead of update call”, Seeking Alpha reported, in relevant part:

       Plug [stock fell] -12.9% in Wednesday’s trading to its lowest in more than four years, as
       the market appears to have reset expectations ahead of the company’s planned January 23
       business update with [the Individual Defendants].

                                               ***
       Morgan Stanley analyst Andrew Percoco maintained his Underweight rating and $3 price
       target, anticipating downside to Plug’s (PLUG) $2.1B revenue and 25% gross margin
       guidance for FY 2024 announced during its Q4 earnings call.

       Given recent sales trends and margin track record, Percoco forecasts $1.26B of revenue
       and a negative 8% gross margin in 2024, compared to Wall Street consensus estimates for
       $1.69B in revenues and positive 4% gross margin.

       The analyst thinks further delays at Plug’s (PLUG) green hydrogen production facility in
       Georgia could be announced, which would add to pressure on the growth and profitability
       profile of the company’s green hydrogen business model.

       Percoco also pointed to an increasing probability that Plug (PLUG) will need to raise $1B-
       $1.5B of equity and equity-like capital to fund its highly capital intensive business to
       provide itself runway to improve its margin and cash flow profile, which is not fully baked
       into the current share price.


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       74.     On this news, Plug’s stock price fell $0.30 per share, or 9.87%, to close at $2.74

per share on January 17, 2024.

       75.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                             V.      SCIENTER ALLEGATIONS

       76.     During the Class Period, Defendants had both the motive and opportunity to

commit fraud. They also had actual knowledge of the misleading nature of the statements they

made, or acted in reckless disregard of the true information known to them at the time. In so doing,

Defendants participated in a scheme to defraud and committed acts, practices, and participated in

a course of business that operated as a fraud or deceit on purchasers of the Company’s securities

during the Class Period.

                  VI.      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       77.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Plug securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

       78.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Plug securities were actively traded on the NASDAQ.

While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or


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thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Plug or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        79.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        80.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

        81.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               whether the federal securities laws were violated by Defendants acts as alleged
                herein;

               whether statements made by Defendants to the investing public during the Class
                Period misrepresented material facts about the business, operations and
                management of Plug;

               whether the Individual Defendants caused Plug to issue false and misleading
                financial statements during the Class Period;

               whether Defendants acted knowingly or recklessly in issuing false and misleading
                financial statements;

               whether the prices of Plug securities during the Class Period were artificially
                inflated because of the Defendants’ conduct complained of herein; and

               whether the members of the Class have sustained damages and, if so, what is the
                proper measure of damages.




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       82.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       83.     Plaintiff will rely, in part, upon the presumption of reliance established by the fraud

on-the-market doctrine in that:

              Defendants made public misrepresentations or failed to disclose material facts
               during the Class Period;

              the omissions and misrepresentations were material;

              Plug securities are traded in an efficient market;

              the Company’s shares were liquid and traded with moderate to heavy volume
               during the Class Period;

              the Company traded on the NASDAQ and was covered by multiple analysts;

              the misrepresentations and omissions alleged would tend to induce a reasonable
               investor to misjudge the value of the Company’s securities; and

              Plaintiff and members of the Class purchased, acquired and/or sold Plug securities
               between the time the Defendants failed to disclose or misrepresented material facts
               and the time the true facts were disclosed, without knowledge of the omitted or
               misrepresented facts.

       84.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

       85.     Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.




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                                              COUNT I

        (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                             Thereunder Against All Defendants)

        86.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        87.     This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        88.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Plug securities; and (iii)

cause Plaintiff and other members of the Class to purchase or otherwise acquire Plug securities

and options at artificially inflated prices. In furtherance of this unlawful scheme, plan and course

of conduct, Defendants, and each of them, took the actions set forth herein.

        89.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Plug securities. Such reports, filings, releases and statements were



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materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Plug’s finances and business prospects.

         90.   By virtue of their positions at Plug, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant knew

or recklessly disregarded that material facts were being misrepresented or omitted as described

above.

         91.   Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants knowledge and control. As the senior managers and/or

directors of Plug, the Individual Defendants had knowledge of the details of Plug’s internal affairs.

         92.   The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein. Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Plug. As officers and/or directors of a publicly-held company, the Individual Defendants had a

duty to disseminate timely, accurate, and truthful information with respect to Plug’s businesses,

operations, future financial condition and future prospects. As a result of the dissemination of the

aforementioned false and misleading reports, releases and public statements, the market price of

Plug securities was artificially inflated throughout the Class Period. In ignorance of the adverse

facts concerning Plug’s business and financial condition which were concealed by Defendants,




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Plaintiff and the other members of the Class purchased or otherwise acquired Plug securities at

artificially inflated prices and relied upon the price of the securities, the integrity of the market for

the securities and/or upon statements disseminated by Defendants, and were damaged thereby.

          93.   During the Class Period, Plug securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and misleading

statements described herein, which the Defendants made, issued or caused to be disseminated, or

relying upon the integrity of the market, purchased or otherwise acquired shares of Plug securities

at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the other

members of the Class known the truth, they would not have purchased or otherwise acquired said

securities, or would not have purchased or otherwise acquired them at the inflated prices that were

paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true value of

Plug securities was substantially lower than the prices paid by Plaintiff and the other members of

the Class. The market price of Plug securities declined sharply upon public disclosure of the facts

alleged herein to the injury of Plaintiff and Class members.

          94.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          95.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.




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                                              COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

        96.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

        97.     During the Class Period, the Individual Defendants participated in the operation

and management of Plug, and conducted and participated, directly and indirectly, in the conduct

of Plug’s business affairs. Because of their senior positions, they knew the adverse non-public

information about Plug’s misstatement of income and expenses and false financial statements.

        98.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Plug’s

financial condition and results of operations, and to correct promptly any public statements issued

by Plug which had become materially false or misleading.

        99.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Plug disseminated in the marketplace during the Class Period concerning

Plug’s results of operations. Throughout the Class Period, the Individual Defendants exercised

their power and authority to cause Plug to engage in the wrongful acts complained of herein. The

Individual Defendants, therefore, were controlling persons of Plug within the meaning of Section

20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct alleged which

artificially inflated the market price of Plug securities.

        100.    Each of the Individual Defendants, therefore, acted as a controlling person of Plug.

By reason of their senior management positions and/or being directors of Plug, each of the

Individual Defendants had the power to direct the actions of, and exercised the same to cause, Plug

to engage in the unlawful acts and conduct complained of herein. Each of the Individual


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Defendants exercised control over the general operations of Plug and possessed the power to

control the specific activities which comprise the primary violations about which Plaintiff and the

other members of the Class complain.

       101.    By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Plug.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

DATED: April 30, 2024                          Respectfully submitted,

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